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 1
                                                         DENIED
 2                                            BY ORDER OF THE COURT
 3
 4                                        Violates paragraph 7 of Court’s Standing Order

 5                                                         3/11/19
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 8
 9                       UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA

11
     CONSUELO HAGGAR,                          Case No. 2:18-cv-06171-JFW-JEMx
12                                             Assigned to District Court Judge John F.
13               Plaintiff,                    Walter

14   v.                                        [PROPOSED] ORDER GRANTING
15                                             STIPULATION TO CONTINUE
     CAPITAL ONE BANK (USA), N.A.,             DEADLINE FOR MEDIATION
16                                             COMPLETION DATE AND JOINT
17               Defendant.                    STATUS REPORT DATE

18                                             Current Mediation Completion Date:
19                                             March 4, 2019

20                                             Proposed Mediation Completion Date:
21                                             May 10, 2019

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          [PROPOSED] ORDER GRANTING STIPULATION TO CONTINUE DEADLINE FOR MEDIATION
                        COMPLETION DATE AND JOINT STATUS REPORT DATE
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 1        Upon consideration of Plaintiff Consuelo Haggar (“Plaintiff”) and Defendant
 2 Capital One Bank (USA), N.A’s (“Capital One”) (collectively the “Parties”)
 3 stipulation and good cause appearing, the Court orders that the Mediation Completion
 4 Date set for March 3, 2019 is continued to May 10, 2019, and the Joint Status Report
 5 deadline set for March 8, 2019 is continued to May 14, 2019.
 6
 7 IT IS SO ORDERED.
 8                                                  DENIED
 9 Dated: ____________                           ______________________________
                                                 Hon. John F. Walter
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                                                 UNITED STATES DISTRICT JUDGE
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                                             1
          [PROPOSED] ORDER GRANTING STIPULATION TO CONTINUE DEADLINE FOR MEDIATION
                        COMPLETION DATE AND JOINT STATUS REPORT DATE
